        Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 1 of 20                             FILED
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                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

JOHNY MAYNOR, et al.,                              )
                                                   )
       Plaintiffs,                                 )
v.                                                 )          Civil Action Number
                                                   )           5:01-cv-851-AKK
MORGAN COUNTY, AL, et al.,                         )
                                                   )
       Defendants.                                 )

                     MEMORANDUM OPINION AND ORDER

       In 2001, the Plaintiffs, a class of pretrial detainees confined in the Morgan

County Jail (“the Jail”), sued Morgan County and a number of county, state, and

Jail officials, alleging inhumane treatment and conditions of confinement. The

parties settled their dispute and agreed to a consent decree requiring the

Defendants to make a number of reforms. Presently before the court is the

Defendants’ motion to terminate the consent decree, doc. 173, 1 pursuant to the

Prison Litigation Reform Act (“PLRA”), 18 U.S.C. § 3626.

       The PLRA, which Congress passed in 1996, “altered the landscape of prison

reform litigation.” Cason v. Seckinger, 231 F.3d 777, 779 (11th Cir. 2000).
1
  Several other motions are also before the court. The Plaintiffs’ motion for leave to file sur-
reply, doc. 212, is due to be granted. Class member John Kister’s three motions relating to the
October 2017 evidentiary hearing, docs. 192, 193, 194, are moot. Kister also filed a motion
seeking transcripts of certain hearings, doc. 216. However, because Kister has not prepaid the
cost of these transcripts, and because even indigent detainees do not have a right to receive
transcripts at no cost, see United States v. Newsome, 257 F. Supp. 201, 203 (N.D. Ga. 1966), the
motion is due to be denied.


                                               1
       Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 2 of 20




Relevant here, the PLRA “limits a court’s authority to continue to enforce

previously entered prospective relief in prison litigation reform cases.” Id. at 780.

A party may seek to terminate a consent decree after a certain timespan has

elapsed. Id. (citing 18 U.S.C. §§ 3626(b)(1)(A), 3626(b)(2)). The court must grant

the motion unless it “determines that the relief remains necessary to ‘correct a

current and ongoing violation of [federal rights].’” Id. at 780 (quoting 18 U.S.C.

§ 3626(b)(3)). The party opposing the termination of prospective relief has the

burden of proving a current and ongoing constitutional violation. Id. at 782-83.

And, “[e]ven where there is a current and ongoing violation, prospective relief

must be terminated unless the district court makes written findings on the record

that the relief extends no further than necessary to correct the violation, that the

relief is narrowly drawn, and that the relief is the least intrusive means to correct

the violation,” the so-called need-narrowness-intrusiveness requirements. Id.

(citing 18 U.S.C. § 3626(b)(3)).

      In their motion, which is fully briefed, docs. 199, 210, 211, 212-1, and ripe

for review, the Defendants argue that the consent decree’s remaining provisions

must be terminated because there are no current and ongoing violations at the Jail,

or alternatively, that these provisions do not satisfy the need-narrowness-

intrusiveness requirements. Although the Plaintiffs oppose the motion, they

generally agree with the Defendants that the majority of the consent decree’s terms


                                          2
          Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 3 of 20




are subject to termination. See docs. 168, 169, 186, 189, 198, 200. Instead, the

Plaintiffs challenge only the termination of Paragraphs 16 and 18, 2 arguing that the

Jail’s current conditions related to mental health treatment warrant these

provisions’ extension. While the court is concerned by the evidence of inadequate

mental health care at the Jail, the Plaintiffs have failed to satisfy their burden of

showing that the Defendants were deliberately indifferent to the risks of this

inadequate care. Therefore, the court has no basis to find that the Defendants’

conduct constitutes a current and ongoing violation, and, accordingly, the motion

to terminate is due to be granted.




2
    Paragraph 16 provides that

         If, during intake screening, an inmate states that he or she is on medication for a chronic
         or acute illness and the medication cannot be verified within 24 hours of intake, then,
         within the next 24 hours, the inmate will be seen by a physician who shall continue the
         inmate’s prescriptions, or in the alternative, order other treatment for the inmate
         consistent with the community standard of care for the inmate’s condition. The inmate
         shall receive the first dose of the medication prescribed by this physician within the
         second 24-hour period (in other words, within 48 hours of intake). The physician’s
         decision to continue, discontinue, or modify the inmate’s treatment, and the reasons for
         this decision, shall be documented in the inmate’s medical record.

Paragraph 18 provides that

         Inmates who indicate through the intake screening or who appear to be suffering from
         serious mental illness, including suicidal tendencies, shall be seen promptly by a qualified
         mental health specialist for diagnosis and appropriate and ongoing treatment. County
         Defendants shall develop a written plan which ensures that inmates with mental illness
         are seen promptly by qualified mental health specialists.

Doc. 45 at 8.
                                                  3
       Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 4 of 20




      I. ANALYSIS

      The Supreme Court has developed a two-part analysis governing challenges

to the constitutionality of conditions of confinement, consisting of an “objective

test” and a “subjective test.” Chandler v. Crosby, 379 F.3d 1288-89 (11th Cir.

2004). Basically, the court must ascertain whether a current constitutional violation

has caused or threatens to cause serious harm to a detainee with serious medical

needs (the objective test), and establish a defendant’s deliberate indifference (the

subjective test) to find a current and ongoing violation. The court will begin its

analysis by determining what timeframe to use in assessing the currentness of the

alleged violations, before turning to the objective test and subjective test

components. Finally, the court will address the need-narrowness-intrusiveness

requirements.

      A. What is the Proper Timeframe for Determining the Currentness of
      the Alleged Violations

      The parties disagree on the time period the court should consider in

ascertaining whether current and ongoing violations exist at the Jail. Basically, the

Plaintiffs contend that the proper period is the date when the Defendants filed their

motion to terminate, June 27, 2017, and the Defendants counter that it is the date of

the evidentiary hearing, October 4, 2017.

      A current and ongoing violation “is a violation that exists at the time the

district court conducts the § 3626(b)(3) inquiry” into whether it should terminate
                                            4
       Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 5 of 20




the prospective relief, “not a potential future violation.” Cason, 231 F.3d at 784.

Cason, however, offers no additional guidance. Moreover, the parties have not

cited, and the court has not found, any Eleventh Circuit decision squarely

addressing the question of precisely when the § 3626(b)(3) inquiry occurs. The

court notes, however, that the Fifth Circuit, in interpreting Cason, has held that “a

court must look at the conditions in the jail at the time termination is sought, not at

conditions that existed in the past or at conditions that may possibly occur in the

future[.]” Castillo v. Cameron Cty., Tex., 238 F.3d 339, 353 (5th Cir. 2001)

(emphasis added). The court finds the Fifth Circuit’s interpretation persuasive.

      Requiring the Plaintiffs to present evidence on Jail conditions as of the date

of the evidentiary hearing, as the Defendants propose, would pose an immense, and

possibly insurmountable, logistical burden. For example, no expert witness is

capable of reasonably reviewing the evidence she needs to form her opinions

regarding a jail’s conditions as of the very day she is to testify. In fact, if the

Defendants’ proposition is taken to its logical extreme, even detainees would be

unable to testify as to the conditions of their confinement, because their presence at

the evidentiary hearing would necessarily mean that they lack personal knowledge

of the jail’s conditions at the time of the hearing. Put simply, the Defendants’

interpretation would frustrate the very purpose of the evidentiary hearing that

Cason mandates. Accordingly, the court will consider the Jail’s conditions on the


                                          5
       Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 6 of 20




date the Defendants filed the motion to terminate to determine whether a current

and ongoing violation exists.

      B. Whether the Plaintiffs Satisfy the Objective Test

      The objective test of the inquiry of whether a current and ongoing violation

exists requires an initial showing that detainees have “serious medical needs.”

Estelle v. Gamble, 429 U.S. 97, 104 (1976). “[A] serious medical need is one that

has been diagnosed by a physician as mandating treatment or one that is so obvious

that even a lay person would easily recognize the necessity for a doctor’s

attention.” Hill v. Dekalb Reg’l Youth Det. Ctr., 40 F.3d 1176, 1187 (11th Cir.

1994) (citations and internal quotation marks omitted), overruled in part on other

grounds by Hope v. Pelzer, 536 U.S. 730 (2002). This issue is not in contention, as

the Defendants do not dispute that serious mental illnesses are serious medical

needs, see docs. 199, 211, and the Plaintiffs’ expert witness, Dr. Kelly Coffman,

testified that many Plaintiffs have serious mental illnesses. Therefore, the Plaintiffs

have satisfied their burden of showing a serious medical need.

      The Plaintiffs must next show under the objective test that a detainee with a

serious medical need has suffered serious harm or is “incarcerated under conditions

posing a substantial risk of serious harm.” Farmer v. Brennan, 511 U.S. 825, 834

(1994). This inquiry requires the court to ascertain whether inadequacies in the

Jail’s provision of mental health care either seriously harmed the Plaintiffs or


                                          6
       Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 7 of 20




created a substantial risk of serious harm to the Plaintiffs. The Plaintiffs concede

the first point through Dr. Coffman’s testimony that no evidence shows that any

Plaintiff suffered serious harm as a result of the Defendants’ conduct. This

concession is not fatal to the showing of a substantial risk of serious harm,

however, because the law recognizes that “a remedy for unsafe conditions need not

await a tragic event.” Helling v. McKinney, 509 U.S. 25, 33 (1993). Rather, the

Constitution “protects against future harms to inmates” even when the harm “might

not affect all of those exposed” to a risk, and even when the harm might not

manifest immediately. Id. Thus, conditions posing an unreasonable risk of serious

damage to detainees’ future health can satisfy the objective test. Id at 35.

      In other words, the Plaintiffs need to show only “that they have been

subjected to the harmful policies and practices at issue, not (necessarily) that they

have already been harmed by these policies and practices.” Dunn v. Dunn, 219 F.

Supp. 3d 1100, 1123 (M.D. Ala. 2016). Moreover, multiple policies or practices

that combine to deprive a detainee of a “single, identifiable human need,” such as

mental health care, can constitute a substantial risk of serious harm. Gates v. Cook,

376 F.3d 323, 333 (5th Cir. 2004) (citing Wilson v. Seiter, 501 U.S. 294, 304

(1991)); see Hamm v. DeKalb Cty., 774 F.2d 1567, 1575-76 (11th Cir. 1985)

(recognizing “totality of conditions” approach in prison conditions cases). More

specifically, here, the Plaintiffs contend that four current and ongoing practices,


                                           7
        Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 8 of 20




taken together, create a substantial risk of serious harm. 3 The court addresses each

alleged practice in turn.

       1. Insufficient Psychiatric Staffing

       Dr. Coffman testified that, although the Jail has 125 mental health patients,

the Jail’s psychiatrist only visited an average of slightly more than five hours each

month from June to September 2017, and spent an average of six minutes with

each patient he examined during his visit. See doc. 202-28. The Plaintiffs contend

that this meant that only twenty-seven patients received psychiatric treatment each

month on average, resulting in extensive wait times and a one to six month lag

between a detainee placing a sick call and receiving treatment. See id. In her

testimony at the hearing, Dr. Coffman described the Jail’s psychiatric staffing as

wholly inadequate, testifying that adequate care would entail that the psychiatrist

see a minimum of forty detainees each month based on the Jail’s current mental

health caseload. Dr. Coffman added that the length of the wait and the resulting

uncertainty of when a detainee would receive treatment could exacerbate feelings

of hopelessness and helplessness, potentially leading to severe consequences such

as harm to self or others. Additionally, because detainees are unable to receive

3
  The Plaintiffs identify these practices as: “(1) the failure to ensure adequate psychiatric staffing
levels, resulting in long delays in the provision of mental health care; (2) the failure to routinely
refer those who report or display signs or symptoms of serious mental illness at intake for prompt
psychiatric assessment and treatment; (3) the abrupt withdrawal of psychotropic medication from
class members at intake without any individualized determination by a psychiatrist that such
withdrawal is medically necessary; and (4) the failure to schedule follow-up appointments with a
psychiatrist after class members are prescribed new medications.” Doc. 210 at 16.
                                                  8
       Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 9 of 20




psychiatric medication before seeing a psychiatrist, they are at risk of the

recurrence of mental health symptoms previously treated by their medication, the

exacerbation of such symptoms, and the withdrawal symptoms of their

medications, including the potentially fatal ones from benzodiazepines. Based on

her demeanor, knowledge, and expertise, the court finds Dr. Coffman credible and

accepts her testimony. See Anderson v. City of Bessemer City, N.C., 470 U.S. 564,

575 (U.S. 1985) (“When findings are based on determinations regarding the

credibility of witnesses, Rule 52(a) demands even greater deference to the trial

court’s findings; for only the trial judge can be aware of the variations in demeanor

and tone of voice that bear so heavily on the listener’s understanding of and belief

in what is said”) (citing Wainwright v. Witt, 469 U.S. 412 (1985)). Dr. Coffman’s

testimony supports a finding that the Jail’s low level of psychiatric staffing, taken

together with its other practices, creates a substantial risk of serious harm.

      2. Failure to Refer Patients at Intake

      Dr. Coffman testified also that the Jail’s post-intake referral process

“essentially does not exist.” She reached this conclusion based on medical records

showing that the Jail did not directly refer some detainees for psychiatric treatment

despite identifying them at intake as displaying symptoms of serious mental

illnesses. This failure meant that these detainees could only receive treatment

through the standard sick call procedure, which requires a co-pay before a detainee


                                           9
      Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 10 of 20




can speak with a nurse who then determines whether to place the detainee on the

wait list to see a psychiatrist. In addition to criticizing the co-pay, Dr. Coffman

added that requiring detainees with mental illnesses to self-refer for treatment

places them at risk by creating unnecessary obstacles to treatment. According to

Dr. Coffman, people with mental illnesses are often cautious about seeking

treatment or do not believe they need treatment. These tendencies are apparently

exacerbated in the jail setting, due to detainees’ fears for their safety and the

potential of victimization. As a result, Dr. Coffman theorized that detainees may

either avoid self-referring until they can no longer manage their symptoms,

resulting in the detainee requiring higher doses of medication and a longer period

to return to a baseline level of function than if she had received a referral at intake,

or avoid self-referring altogether. The court finds Dr. Coffman’s testimony

credible. The “[f]ailure to identify those who need mental-health services denies

them access to necessary treatment, creating a substantial risk of harm to those

who remain unidentified.” Braggs v. Dunn, 257 F. Supp. 3d 1171, 1201 (M.D. Ala.

2017) (citing LaMarca v. Turner, 995 F.2d 1526, 1544 (11th Cir. 1993)). While

here the Jail did not fail to identify detainees who required psychiatric care, its

failure to provide referrals had the same effect of denying those individuals access

to necessary treatment. Therefore, the evidence supports a finding that the Jail’s




                                          10
      Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 11 of 20




failure to refer detainees displaying signs of serious mental illness at intake, taken

together with its other practices, creates a substantial risk of serious harm.

      3. Discontinuation of Medication

      The Plaintiffs also criticize the Jail’s practice of discontinuing at intake the

psychiatric medications of detainees who test positive for illegal drugs 4 or the

prescriptions of those taking prohibited medications, such as benzodiazepines or

seroquel. Once the medications are discontinued, the detainee has to wait until she

receives a new prescription from the Jail’s psychiatrist. The Jail rigidly enforces

these rules at intake, without any opportunity for a psychiatrist to deviate based on

medical necessity. Dr. Coffman testified that abruptly discontinuing medications

can exacerbate mental health symptoms or cause symptoms previously treated by

the medication to recur, potentially causing a detainee to pose a risk of harm to

herself or others. While Dr. Coffman noted that benzodiazepines and seroquel

should not be used frequently in a jail setting due to the potential for abuse, she

testified that limited use was appropriate in some circumstances.

      The Plaintiffs also presented evidence about the risk of the withdrawal

symptoms of psychiatric medications. In the case of benzodiazepines, these include

life-threatening fluctuations in blood pressure and heart rate that can cause seizures

or death. The Plaintiffs added that these risks are exacerbated by the Jail’s

4
  Detainees who test positive for controlled substances are prohibited from receiving any
psychiatric medication for thirty days.
                                           11
      Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 12 of 20




inadequate staffing and the resulting long wait before detainees can receive a new

prescription or treatment for withdrawal symptoms. Consequently, the Plaintiffs

argue that the Jail should allow psychiatrists to determine at intake whether

continuing a detainee’s medications is medically necessary rather than applying a

rigid blanket rule, and that, rather than abruptly discontinuing medications, the Jail

should taper dosages downward over a period of time and monitor the effects of

reduced dosages. This evidence supports a finding that the Jail’s policy of abruptly

discontinuing detainees’ medications, together with its other practices, creates a

substantial risk of serious harm. See Graves v. Arpaio, No. CV-77-0479-PHX-

NVW, 2008 WL 4699770, at *32 (D. Ariz. Oct. 22, 2008) (“Providing pretrial

detainees’   prescription   medications     without    interruption   is   essential   to

constitutionally adequate medical care . . . Lapses in medication for certain medical

conditions . . . can be life threatening even if the lapse is only a few days”).

      4. Failure to Schedule Follow-up Appointments

      Finally, the Plaintiffs challenge the Jail’s failure to automatically schedule

follow-up psychiatric appointments to evaluate the effects of newly prescribed

medications. While any Jail employee is free to make a psychiatric referral for a

detainee, the Jail has no mechanism for automatic referrals. The only avenue for

detainees who do not receive referrals to pursue follow-up care is through the sick

call process. The Plaintiffs maintain that the failure to provide referrals for follow-


                                           12
      Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 13 of 20




up care each time a detainee is prescribed a new psychiatric medication carries all

the previously discussed risks of requiring self-referral, including the possibility of

detainees going without follow-up treatment entirely. This evidence supports a

finding that the Jail’s lack of automatic referrals, taken together with its other

practices, creates a substantial risk of serious harm.

      To sum up, Dr. Coffman’s testimony, which the court finds credible, makes

clear that the inadequacies in the Jail’s provision of mental health care subject

detainees to a substantial risk of significant harm. Therefore, the Plaintiffs have

satisfied the objective test by showing a serious medical need and that the Jail’s

conditions pose a substantial risk of serious harm. This is only the first step in the

inquiry, however.

      C. Whether the Plaintiffs Satisfy the Subjective Test

      The court turns next to the second part of the inquiry—the subjective test.

This entails showing that an official acted with deliberate indifference to a harm or

risk of harm: that is, the official must have “know[n] of and disregard[ed] an

excessive risk to inmate health or safety[.]” Farmer, 511 U.S. at 837. In defining

the deliberate indifference standard, the Court stated:

      [A] prison official cannot be found liable under the Eighth Amendment for
      denying an inmate humane conditions of confinement unless the official
      knows of and disregards an excessive risk to inmate health or safety; the
      official must both be aware of facts from which the inference could be
      drawn that a substantial risk of serious harm exists, and he must also draw
      the inference.
                                          13
       Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 14 of 20




Id. at 837. 5 “Negligence does not suffice to satisfy this standard,” Wilson v. Seiter,

501 U.S. 294, 305 (1991), but a detainee need not show that the official acted with

“the very purpose of causing harm or with knowledge that harm [would] result,”

Farmer, 511 U.S. at 835. In sum, the subjective test has three components: “(1)

subjective knowledge of a risk of serious harm; (2) disregard of that risk; (3) by

conduct that is more than negligence.” Farrow v. West, 320 F.3d 1235, 1245 (11th

Cir. 2003). A failure to make any one of these showings means that the Plaintiffs

have failed to satisfy the subjective test. See id. For the reasons stated below, the

court finds that the Plaintiffs have failed to satisfy all three components.

       1. Did Jail Officials have Subjective Knowledge of a Risk of Serious Harm?

       To establish deliberate indifference, the Plaintiffs must first show that the

Defendants had subjective knowledge of the harm or risk of harm. Thomas v.

Bryant, 614 F.3d 1288, 1312 (11th Cir. 2010). Subjective awareness of a risk of

harm can be determined based on circumstantial evidence, including “the very fact

that the risk was obvious.” Farmer, 511 U.S. at 842. In other words, if a particular

risk was “longstanding, pervasive, well-documented, or expressly noted by prison

officials in the past, and the circumstances suggest that the defendant-official being

sued had been exposed to information concerning the risk and thus ‘must have

5
  For pretrial detainees, deliberate indifference claims are governed by the Fourteenth
Amendment, not the Eighth Amendment. Cottrell v. Caldwell, 85 F.3d 1480, 1490 (11th Cir.
1996) (citations omitted). However, courts apply the same standard in analyzing such claims. Id.
                                              14
      Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 15 of 20




known’ about it,” such evidence permits a trier of fact to conclude that the officials

had actual knowledge of the risk. Id. at 842-43 (internal citation omitted).

      The Defendants contend “there was no evidence of a serious mental health

need that posed a substantial risk of serious harm[.]” Doc. 211 at 8. The Plaintiffs

dispute that there was no serious risk of harm, and, as discussed above, the court

agrees. However, the Plaintiffs have not presented evidence demonstrating the

existence of facts from which the Defendants could have reasonably inferred the

existence of these risks, or that the Defendants actually made this inference. The

record also does not support a finding that the risk was obvious or that the

Defendants must have known about it. Compare Braggs, 257 F. Supp. 3d at 1252-

55 (finding subjective knowledge of risk where, among other things, corrections

officials testified that system-wide conditions created substantial risk of suicide,

multiple sources informed the department that staffing shortages undermined a

health care contractor’s ability to provide care, and medical staff had made oral

and written communications to corrections officials concerning inadequate

policies). Accordingly, based on this record, the Plaintiffs have failed to establish

that the Defendants had subjective knowledge of the risks to the detainees.

      2. Did Jail Officials Disregard the Risk

      The next step in the inquiry is whether the Defendants disregarded an

excessive risk to detainees’ health or safety. Farmer, 511 U.S. at 837. Disregard of


                                          15
      Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 16 of 20




a risk of harm may consist of “failing to provide care, delaying care, or providing

grossly inadequate care” when doing so causes a detainee to needlessly suffer pain

resulting from her illness. McElligott v. Foley, 182 F.3d 1248, 1257 (11th Cir.

1999). Put differently, the Plaintiffs can satisfy this prong if a Defendant with

subjective awareness of a serious need provided “an objectively insufficient

response to that need.” Taylor v. Adams, 221 F.3d 1254, 1258 (11th Cir. 2000). In

some circumstances, a defendant’s disregard of a known risk is quite obvious. For

example, the defendant might “simply refuse[ ] to provide” medical care known to

be necessary. Ancata v. Prison Health Servs., Inc., 769 F.2d 700, 704 (11th Cir.

1985). If a defendant provides some medical care, the Constitution does not require

that the care be “perfect” or the “best obtainable.” Harris v. Thigpen, 941 F.2d

1495, 1510 (11th Cir. 1991). Nonetheless, a defendant’s disregard of the risk can

still be found if he “delay[s] the treatment,” provides “grossly inadequate care,”

chooses “an easier but less efficacious course of treatment,” or provides “medical

care which is so cursory as to amount to no treatment at all.” McElligott, 182 F.3d

at 1255 (collecting cases).

       “[T]he quality of psychiatric care can be so substantial a deviation from

accepted standards as to evidence deliberate indifference[.]” Steele v. Shah, 87

F.3d 1266, 1269 (11th Cir. 1996) (citing Greason v. Kemp, 891 F.2d 829, 835

(11th Cir. 1990)). “In institutional level challenges to prison health care . . .


                                        16
      Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 17 of 20




systemic deficiencies can provide the basis for a finding of deliberate indifference.

A series of incidents closely related in time may disclose a pattern of conduct

amounting to deliberate indifference. Repeated examples of delayed or denied

medical care may indicate a deliberate indifference by prison authorities to the

suffering that results.” Rogers v. Evans, 792 F.2d 1052, 1058-59 (11th Cir. 1986)

(citing Todaro v. Ward, 565 F.2d 48, 52 (2d Cir. 1977); Bishop v. Stoneman, 508

F.2d 1224 (2d Cir. 1974)).

      While the court agrees with the Plaintiffs that a substantial risk exists, the

Plaintiffs have not provided evidence supporting a finding that the Defendants

disregarded that risk. The record also does not support a finding that the Jail’s

provision of mental health care was so substantial a deviation from accepted

standards as to evidence deliberate indifference, or that the Jail’s mental health

care caseload or any of its other policies are sufficient evidence of a pattern of

conduct amounting to deliberate indifference. Compare Braggs, 257 F. Supp. 3d at

1255-62 (finding disregard where corrections officials had notice of harm, but did

not respond reasonably to identified issues for several years and failed to exercise

meaningful oversight of mental health care). Thus, even if the Defendants had

subjective knowledge of the risks to the detainees, the Plaintiffs have not shown

that the Defendants disregarded those risks.




                                         17
      Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 18 of 20




      3. Did Jail Officials Engage in Conduct that is More Blameworthy than
      Negligence

      Finally, to establish deliberate indifference, the Plaintiffs must show that the

Defendants’ response to a known risk is more blameworthy than “mere

negligence.” Farmer, 511 U.S. at 835 (citing Estelle, 429 U.S. at 106). In other

words, the Defendants must have disregarded the risk with “more than ordinary

lack of due care for the prisoner’s interests or safety.” Id. (quoting Whitley v.

Albers, 475 U.S. 312, 319 (1986)). However, while an “inadvertent failure” to

provide adequate medical care or even medical malpractice does not satisfy the

deliberate indifference standard, Estelle, 429 U.S. at 105-06, repeated examples of

negligent conduct support an inference of systemic disregard for the risk of harm

facing detainees with mental illnesses, see Ramos v. Lamm, 639 F.2d 559, 575

(10th Cir. 1980).

      The Plaintiffs cannot make the requisite showing because even their expert

testified that she was not aware of any medical malpractice by Jail personnel.

Obviously, while “[s]imple medical malpractice certainly does not rise to the level

of a constitutional violation,” Waldrop v. Evans, 871 F.3d 1030, 1035 (11th Cir.

1988), the absence of negligence belies a finding that the Defendants engaged in

conduct that is more blameworthy than “mere negligence.” Thus, because the

Plaintiffs bear the burden of proof on this issue, see Cason, 231 F.3d at 782-83,

and because they have not produced any other evidence showing that the
                                         18
       Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 19 of 20




Defendants acted by conduct more blameworthy than negligence, they cannot

satisfy the subjective test, see Ramos, 639 F.2d at 575. Accordingly, the

Defendants’ motion is due to be granted.

       D. Whether the Plaintiffs Satisfy the Need-Narrowness-Intrusiveness
       Requirements

       Although the court does not need to reach this step, it notes that “[e]ven

where there is a current and ongoing violation, prospective relief must be

terminated”     unless     the    relief   satisfies   the    need-narrowness-intrusiveness

requirements. Cason, 231 F.3d at 784 (citing 18 U.S.C. § 3626(b)(3)). “The court

must make new findings about whether the relief currently complies with the need-

narrowness-intrusiveness requirements, given the nature of the current violations.

It is not enough under § 3626(b)(3) that the orders, when entered, were sufficiently

narrow considering the violations that existed at that time.” Id. at 784-85. Put

differently, even if the Plaintiffs had satisfied the subjective test, to successfully

defeat the motion to terminate, the Plaintiffs would need to satisfy the need-

narrowness-intrusiveness requirements. The Plaintiffs are certainly correct that

Paragraphs 16 and 18 of the consent decree squarely and directly address the

inadequacies they have identified in the Jail’s provision of mental health care. 6

6
 Specifically, Paragraph 18’s requirement that detainees appearing to suffer from mental illness at
intake receive prompt medical attention addresses the Jail’s failure to provide psychiatric
referrals to detainees who appear mentally ill at intake, while Paragraph 16’s requirement that
detainees whose prescriptions cannot be verified within twenty-four hours of intake receive
medical attention to either continue those prescriptions or order other treatment addresses the
                                                19
       Case 5:01-cv-00851-AKK Document 217 Filed 08/31/18 Page 20 of 20




Still, other than asserting that “[t]hese provisions do not constrain Defendants in

any ways unnecessary to remedying these violations, and the PLRA therefore

permits their retention,” doc. 210 at 23, the Plaintiffs failed to present any evidence

as to the narrowness and minimal intrusiveness of these provisions. Their failure to

provide such evidence dooms their position because they bear the burden of proof

on these issues. See Cason, 231 F.3d at 782-83.

       II. CONCLUSION AND ORDER

       For the reasons stated above—in particular, because the Plaintiffs failed to

satisfy the components of the subjective tests and the need-narrowness-

intrusiveness requirements—the Defendants’ motion to terminate the consent

decree, doc. 173, is GRANTED.

       The Plaintiffs’ Motion for Leave to File Sur-Reply, doc. 212, is

GRANTED. John Kister’s motions, docs. 192, 193, 194, 216, are DENIED.


       DONE the 31st day of August, 2018.

                                             _________________________________
                                                      ABDUL K. KALLON
                                               UNITED STATES DISTRICT JUDGE




flaws in the Jail’s intake process and the practice of discontinuing medications based on positive
drug tests or the nature of the medications. See doc. 45 at 8.


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